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                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    :       CRIMINAL NO.
                                            :
              v.                            :       DATE FILED:        September 25, 2007
                                            :
MAURICE HILL                                :       VIOLATION:
                                            :       18 U.S.C. § 922(g)(1)
                                            :       (possession of a firearm by a convicted
                                            :       felon - 1 count)
                                            :       Notice of forfeiture

                                       INDICTMENT

                                        COUNT ONE

THE GRAND JURY CHARGES THAT:

              On or about May 18, 2007, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                      MAURICE HILL,

having been convicted in a court of the Commonwealth of Pennsylvania of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed in and affecting interstate

commerce a firearm, that is, a Smith & Wesson, .357 caliber revolver, serial number CBE

3300686-4, loaded with seven live rounds.

              In violation of Title 18, United States Code, Section 922(g)(1).
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                                  NOTICE OF FORFEITURE

THE GRAND JURY FURTHER CHARGES THAT:

               As a result of the violation of Title 18, United States Code, Section 922(g)(1), set

forth in this indictment, defendant

                                        MAURICE HILL

shall forfeit to the United States of America, the firearm and ammunition involved in the

commission of this offense, including, but not limited to:

                       a Smith & Wesson, .357 caliber revolver, serial number CBE 3300686-4,

                       and seven live rounds of ammunition.

               All pursuant to Title 28, United States Code, Section 2461(c), and Title 18,

United States Code, Section 924(d).


                                                     A TRUE BILL:




                                                     FOREPERSON




PATRICK L. MEEHAN
UNITED STATES ATTORNEY




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